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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                          Criminal Action No. 5:08CR22-08
                                                                     (STAMP)
 EDWIN DIAZ,

               Defendant.


           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE’S
       RECOMMENDATION THAT DEFENDANT’S GUILTY PLEA BE ACCEPTED

       On July 21, 2008, defendant, Edwin Diaz, appeared before

 United States Magistrate Judge James E. Seibert and moved this

 Court for permission to withdraw his plea of NOT GUILTY to Count

 One and enter a plea of GUILTY.              The defendant stated that he

 understood that the magistrate judge is not a United States

 District Judge, and consented to pleading before the magistrate

 judge.      This Court had referred the guilty plea to the magistrate

 judge for the purposes of administering the allocution pursuant to

 Federal Rule of Criminal Procedure 11, making a finding as to

 whether     the   plea   was    knowingly   and   voluntarily     entered,   and

 recommending to this Court whether the plea should be accepted.

       Based upon the defendant’s statements during the plea hearing

 and   the    testimony     of   Special   Agent   Mark   Simala   of   the   Drug

 Enforcement Administration, the magistrate judge found that the

 defendant was competent to enter a plea, that the plea was freely

 and voluntarily given, that the defendant was aware of the nature

 of the charges against him and the consequences of the charges
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 against him and the consequences of his plea, and that a factual

 basis existed for the tendered plea.                    On July 22, 2008, the

 magistrate judge entered an order finding a factual basis for the

 plea and recommended that this Court accept the plea of guilty to

 Count One of the superseding indictment.                     No objection to the

 magistrate judge’s report and recommendation has been filed.

              Absent   objections,      a       de   novo     review   of    the   plea

 proceedings conducted by the magistrate judge is not required.

 United States v. Osborne, 345 F.3d 281, 290 (4th Cir. 2003).

 Accordingly,       this   Court    finds        that   the    magistrate     judge’s

 recommendation should be AFFIRMED and hereby ACCEPTS the plea of

 GUILTY to Count One of the superseding indictment.

       The Court will DEFER adjudging the defendant GUILTY of the

 crime charged in Count One of the superseding indictment until the

 time of sentencing. Pursuant to Federal Rule of Criminal Procedure

 11(c) and United States Sentencing Guideline § 6B1.1(c), acceptance

 of the proposed plea agreement is DEFERRED until the Court has

 received and reviewed the presentence report prepared in this

 matter.

       Pursuant to United States Sentencing Guideline § 6A1 et seq.,

 it is hereby ORDERED that:

       1.     The   Probation      Office       shall   undertake      a   presentence

 investigation of Edwin Diaz and prepare a presentence report for

 the Court;




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       2.     Pursuant to the amended version of Federal Rule of

 Criminal Procedure 32(e)(3), effective December 1, 1994, the United

 States Probation officer is directed not to disclose to the

 defendant,    the    defendant’s    counsel,   or   the    attorney   for   the

 Government the Probation Officer’s recommendation, if any, on the

 sentence;

       3.     The    presentence    report   shall   be    disclosed   to    the

 defendant, defense counsel, and the Government at least thirty-five

 (35) days before sentencing;

       4.     Within fourteen (14) days after receiving the presentence

 report, counsel shall file and serve written sentencing statements

 and objections to the presentence report, if any;

       5.     The defendant, Edwin Diaz, shall appear before the Court

 as later directed by the Court for sentencing or such other

 disposition as may be pronounced against him;

       6.     The    magistrate    judge’s   order   that    the   defendant’s

 personal recognizance bond be permitted to continue is AFFIRMED.

       Further, the trial of this criminal action as to defendant

 Edwin Diaz is hereby VACATED.

       IT IS SO ORDERED.

       The Clerk is directed to transmit copies of this Order to

 counsel of record herein, the defendant, and all appropriate

 agencies.




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       DATED:      July 29, 2008



                                     /s/ Frederick P. Stamp, Jr.
                                     FREDERICK P. STAMP, JR.
                                     UNITED STATES DISTRICT JUDGE




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